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                             UNTIED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA                     :       CRIMINAL NO. 5:22-CR-00049 (GWC)
                                             :
v.                                           :
                                             :
NATHAN CARMAN                                :       FEBRUARY 10, 2023

    DEFENDANT NATHAN CARMAN’S SUPPLEMENTAL MEMORANDUM IN
 SUPPORT OF MOTION FOR PARTIAL DISCLOSURE OF GRAND JURY MINUTES

        Counts One through Six of the Indictment rely solely on conduct that Mr. Carman is not,

and has never been, charged with, namely, the murder of John Chakalos. During the oral argument

on Mr. Carman’s Motion for Partial Disclosure of Grand Jury Minutes, held on February 7, 2023,

the Court ordered Mr. Carman to submit a supplemental memorandum regarding the treatment of

charged versus uncharged conduct in the grand jury. (See Doc. No. 69.) In further support of his

Motion, Mr. Carman submits this memorandum. For the reasons articulated previously, and those

stated herein, the Court should grant Mr. Carman’s Motion for Partial Disclosure of Grand Jury

Minutes.

        The determination of whether to grant a motion for disclosure of grand jury minutes is left

to the discretion of the Court. United States v. Carneglia, 675 Fed. App’x 84, 85 (2d Cir. 2017)

(citing In re Petition of Craig, 131 F.3d 99, 107 (2d Cir. 1997)). Although there is no authority

directly responsive to the Court’s Order regarding charged versus uncharged conduct before the

grand jury, the Court should exercise its discretion and grant Mr. Carman’s Motion. This is an

extraordinary case, which the Court has designated as “complex.” (See Doc. No. 42.) Adding to

the complexity is the Indictment, which contains several conclusory assertions of uncharged

criminal conduct related to Mr. Carman’s purported involvement in the murder of John Chakalos.

Indeed, even the Court noted its confusion regarding Counts One through Three of the Indictment




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during the oral argument. The Indictment provides that Mr. Carman “murdered John Chakalos,”

(Indictment at ¶ 7), by shooting him twice with the same firearm that Mr. Carman allegedly

purchased in New Hampshire (id. at ¶¶ 9-10.) These conclusory assertions provide the sole

grounds for Counts One through Six of the Indictment.

        It is imperative that the Court permit Mr. Carman to review the limited portion of grand

jury minutes that concern the murder of John Chakalos. The murder of John Chakalos provides

the basis for the first six counts of the Indictment, yet that murder is not charged in the Indictment.

Therefore, Mr. Carman needs to know that the grand jury had a complete and accurate picture of

the true status of the investigation into the death of John Chakalos. If the grand jury did not hear

that Mr. Carman has never been convicted or even charged with John Chakalos’s murder, that Mr.

Carman is not the only suspect for the murder of John Chakalos, and that the alleged firearm used

to kill John Chakalos has never been actually linked to Mr. Carman, then more than a mere

possibility exists that the grand jury would not have returned a true bill as to Counts One through

Six.

        Moreover, Mr. Carman can be tried only on the charges that are brought in the Indictment.

In fact, it is well-established that, “[u]nder the fifth amendment, a defendant has a right to be tried

only on charges contained in the indictment and returned by a grand jury.” United States v.

Clemente, 22 F.3d 477, 482 (2d Cir. 1994). Thus, a defendant cannot be tried for conduct not

charged in the indictment. If the Government intends to try Mr. Carman for the death of Mr.

Chakalos—a charge that is not contained in the Indictment—then there may be serious

constitutional implications. “An unconstitutional amendment of the indictment occurs when the

charging terms are altered, either literally or constructively. Constructive amendments of the

indictment are per se violations of the fifth amendment that require reversal even without a


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showing of prejudice to the defendant.” Id. (citing United States v. Helmsley, 941 F.2d 71, 89 (2d

Cir. 1991), cert. denied, 502 U.S. 1091 (1992); United States v. Mollica, 849 F.2d 723, 730 (2d

Cir. 1988)). A review of the portion of grand jury minutes sought as to what was actually

represented or explained concerning the death of John Chakalos will ensure that Mr. Carman’s

constitutional rights are protected, and will allow Mr. Carman to determine whether his

constitutional rights were ignored during the grand jury proceedings.

        Although there are no cases directly on point, the Court should exercise its discretion and

permit Mr. Carman to review the limited portions of grand jury minutes relating to the death of

John Chakalos. This case is extraordinary, and the need to protect Mr. Carman’s constitutional

rights and review the limited portion of grand jury minutes sought far outweighs the need to keep

secret the concluded grand jury proceedings. Presently, Mr. Carman has little choice but to prepare

a defense not only to the charged murder of Linda Carman as set forth in Count Seven of the

Indictment, but also for the uncharged death of John Chakalos.1 Accordingly, the Court should

grant Mr. Carman’s Motion for Partial Disclosure of the Grand Jury Minutes.




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 The Court may also conduct an in camera review of the grand jury minutes and, following its review, either grant or
deny Mr. Carman’s Motion depending on whether any of the issues Mr. Carman raised in this Motion exist.
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Dated: February 10, 2023         Respectfully submitted,
       Hartford, Connecticut
                                 THE DEFENDANT
                                 NATHAN CARMAN


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                                       CERTIFICATION

        I hereby certify that on this date a copy of the foregoing motion was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system and by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF system.

                                         /s/ David X. Sullivan
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